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B6E (Official Form 6E) (04/10)

In re Daniel Solomon Ross                                                                         Case No.        11-13060
      Elizabeth Holland Ross                                                                                              (If Known)

                                                                 AMENDED 1/20/2012
                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
    provided in 11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
    qualifying independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

    Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


    Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


    Deposits by individuals
    Claims of individuals up to $2,600* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(7).


    Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


    Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
    § 507(a)(9).

    Claims for Death or Personal Injury While Debtor Was Intoxicated
    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).


    Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional person employed
    by such person as approved by the court and/or in accordance with 11 U.S.C. §§ 326, 328, 329 and 330.


* Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

________________continuation
       1                     sheets attached
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B6E (Official Form 6E) (04/10) - Cont.
In re Daniel Solomon Ross                                                                                                Case No. 11-13060
      Elizabeth Holland Ross                                                                                                                     (If Known)

                                                                                           AMENDED 1/20/2012
                         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                    TYPE OF PRIORITY      Taxes and Certain Other Debts Owed to Governmental Units




                                                        HUSBAND, WIFE, JOINT,




                                                                                                                     UNLIQUIDATED
                                                                                                                      CONTINGENT
                                                          OR COMMUNITY
                                             CODEBTOR
            CREDITOR'S NAME,                                                      DATE CLAIM WAS INCURRED                           AMOUNT         AMOUNT      AMOUNT




                                                                                                                       DISPUTED
             MAILING ADDRESS                                                       AND CONSIDERATION FOR                              OF         ENTITLED TO     NOT
           INCLUDING ZIP CODE,                                                             CLAIM                                     CLAIM        PRIORITY   ENTITLED TO
         AND ACCOUNT NUMBER                                                                                                                                  PRIORITY, IF
          (See instructions above.)                                                                                                                              ANY


ACCT #: xxxxxxx1605                                                             DATE INCURRED:
                                                                                CONSIDERATION:
State Comptroller                                                               State Sales Tax                                     $32,895.20      $32,895.20        $0.00
111 E. 17th Street                                                              REMARKS:
Austin, TX 78774-0100                                         C Payment arrangements are in
                                                                the process




Sheet no. __________
               1       of __________
                               1       continuation sheets                                 Subtotals (Totals of this page) >        $32,895.20      $32,895.20        $0.00
attached to Schedule of Creditors Holding Priority Claims                              Total >                                      $32,895.20
                                      (Use only on last page of the completed Schedule E.
                                      Report also on the Summary of Schedules.)

                                                                                         Totals >                                                   $32,895.20        $0.00
                                      (Use only on last page of the completed Schedule E.
                                      If applicable, report also on the Statistical Summary
                                      of Certain Liabilities and Related Data.)
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B6 Summary (Official Form 6 - Summary) (12/07)
                                             UNITED STATES BANKRUPTCY COURT
                                                WESTERN DISTRICT OF TEXAS
                                                      AUSTIN DIVISION
   In re Daniel Solomon Ross                                                         Case No.     11-13060
         Elizabeth Holland Ross
                                                                                     Chapter      7

                                                          AMENDED 1/20/2012
                                                       SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors also must complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under
chapter 7, 11, or 13.


                                          ATTACHED NO. OF
 NAME OF SCHEDULE                                                       ASSETS                 LIABILITIES                OTHER
                                           (YES/NO) SHEETS

 A - Real Property                               No       1                 $265,750.00


 B - Personal Property                           No       4                 $101,518.94


 C - Property Claimed                            No       1
     as Exempt
 D - Creditors Holding                           No       1                                           $185,809.23
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                             Yes      2                                            $32,895.20
     (Total of Claims on Schedule E)
 F - Creditors Holding Unsecured                 No       6                                           $578,734.46
     Nonpriority Claims
 G - Executory Contracts and                     No       1
    Unexpired Leases

 H - Codebtors                                   No       1


 I - Current Income of                           No       1                                                                  $4,452.90
     Individual Debtor(s)
 J - Current Expenditures of                     No       2                                                                  $4,213.65
    Individual Debtor(s)

                                             TOTAL        20                $367,268.94               $797,438.89
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Form 6 - Statistical Summary (12/07)
                                            UNITED STATES BANKRUPTCY COURT
                                               WESTERN DISTRICT OF TEXAS
                                                     AUSTIN DIVISION
   In re Daniel Solomon Ross                                                          Case No.      11-13060
         Elizabeth Holland Ross
                                                                                      Chapter       7

                                                          AMENDED 1/20/2012
     STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11, or 13, you must report all information requested below.

    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
    information here.
This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                    Amount
 Domestic Support Obligations (from Schedule E)                                    $0.00

 Taxes and Certain Other Debts Owed to Governmental Units
                                                                             $32,895.20
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was                              $0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                                        $0.00

 Domestic Support, Separation Agreement, and Divorce Decree                        $0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar                       $0.00
 Obligations (from Schedule F)

                                                            TOTAL            $32,895.20

State the following:

 Average Income (from Schedule I, Line 16)                                     $4,452.90

 Average Expenses (from Schedule J, Line 18)                                   $4,213.65

 Current Monthly Income (from Form 22A Line 12; OR, Form 22B
 Line 11; OR, Form 22C Line 20)                                                $5,137.58

State the following:
 1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
 column                                                                                                  $0.00

 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
 column.                                                                     $32,895.20

 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY" column                                                                                $0.00

 4. Total from Schedule F                                                                          $578,734.46

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                      $578,734.46
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B6 Declaration (Official Form 6 - Declaration) (12/07)
In re Daniel Solomon Ross                                                              Case No.    11-13060
      Elizabeth Holland Ross                                                                              (if known)

                                                         AMENDED 1/20/2012
                               DECLARATION CONCERNING DEBTOR'S SCHEDULES
                           DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                 4
sheets, and that they are true and correct to the best of my knowledge, information, and belief.


Date 1/20/2012                                               Signature    /s/ Daniel Solomon Ross
                                                                         Daniel Solomon Ross

Date 1/20/2012                                               Signature     /s/ Elizabeth Holland Ross
                                                                          Elizabeth Holland Ross
                                                             [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.
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B7 (Official Form 7) (04/10)                    UNITED STATES BANKRUPTCY COURT
                                                     WESTERN DISTRICT OF TEXAS
                                                          AUSTIN DIVISION
   In re:   Daniel Solomon Ross                                                                      Case No.      11-13060
            Elizabeth Holland Ross                                                                                        (if known)

                                                                   AMENDED 1/20/2012
                                                 STATEMENT OF FINANCIAL AFFAIRS

       1. Income from employment or operation of business
None
       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
       including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
       case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
       maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
       beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
       under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
        AMOUNT                      SOURCE
                                    ALL AMOUNTS ARE APPROXIMATE:

        $33,446.17                  2011: Director of Field Development
        $14,600.00                  2009: L&D Ross, Inc. (Joint Income)
        $85,753.00                  2009: Capital Gain from L&D Ross, Inc.

       2. Income other than from employment or operation of business
None
       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the
       two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
       separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)
        AMOUNT                      SOURCE
                                    ALL AMOUNTS ARE APPROXIMATE:

        $16,204.62                  2011: Contributions from Family
        $1,000.00                   2010: Gambling Winnings
        $15,849.00                  2010: IRA Distribution
        $10,631.00                  2009: Income Tax Refund for Tax Yr. 2008

       3. Payments to creditors
       Complete a. or b., as appropriate, and c.
None
       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
       debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
       constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account
       of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
       counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                         DATES OF
        NAME AND ADDRESS OF CREDITOR                                     PAYMENTS                AMOUNT PAID             AMOUNT STILL OWING
        Capital One Auto Finance                                         Monthly at              $1,161.12               $10,411.16
        P.O. Box 60511                                                   $387.04
        City of Industry, CA 91716

        Chase Home Finance                                               Monthly                 $5,007.63               $169,521.84
        P.O. Box 78420                                                   $1,669.21
        Phoeniz, AZ 85062-8420

        Internal Revenue Service                                         May 1, 2011             $400.00                 -0-
                                                                         June 8, 2011            $386.00
                                                                                                 = $786.00
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B7 (Official Form 7) (04/10) - Cont.          UNITED STATES BANKRUPTCY COURT
                                                   WESTERN DISTRICT OF TEXAS
                                                        AUSTIN DIVISION
   In re:   Daniel Solomon Ross                                                                  Case No.      11-13060
            Elizabeth Holland Ross                                                                                    (if known)

                                                                AMENDED 1/20/2012
                                                STATEMENT OF FINANCIAL AFFAIRS
                                                                 Continuation Sheet No. 1


None
       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
       preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
       $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
       (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

       * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


None
       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
       who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
       bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
        CAPTION OF SUIT AND                                                           COURT OR AGENCY                STATUS OR
        CASE NUMBER                                   NATURE OF PROCEEDING            AND LOCATION                   DISPOSITION
        American Express Bank                         Judgment                        In the County Court at         Pending
        vs.                                                                           Law No. 2
        Daniel Ross                                                                   Travis County, Texas
        Cause No. C-1-CV-10-012688

        JPMorgan Chase Bank, N.A.                     Judgment                        In the 98th Judicial           Pending
        vs.                                                                           District Court
        L&D Ross, Inc., Daniel Ross and                                               of Travis County, Texas
        Elizabeth Ross
        Cause No. D-1-GN-11-000437

        Transfirst, LLC                               Judgment                        In the 354th Judicial          Pending
        vs.                                                                           District Court
        L&D Ross, Inc. DBA USA Baby #                                                 of Travis County, Texas
        113 and Daniel Solomon Ross
        Cause No. D-1-GN-11-001795

        H.E. Butt Store Property                      Lawsuit                         In the District Court of       Pending
        Company No. One                                                               408th Judicial District
        vs.                                                                           Bexar County, Texas
        L&D Ross, Inc. DBA USA Baby,
        Daniel Ross and Elizabeth Ross
        Cause No. 2010-C1-18836

        Citibank, N.A.                                Lawsuit                         In the County Court at         Pending
        vs.                                                                           Law N. 2
        Elizabeth Ross                                                                of
        Case No. C-1-CV-11-007636                                                     Travis County, Texas

        Citibank, N.A.                                Lawsuit                         In the County Court of         Pending
        vs.                                                                           Law No. 1
        Elizabeth Ross                                                                of
        Case No. C-1-CV-007645                                                        Travis County, Texas
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B7 (Official Form 7) (04/10) - Cont.           UNITED STATES BANKRUPTCY COURT
                                                    WESTERN DISTRICT OF TEXAS
                                                         AUSTIN DIVISION
   In re:   Daniel Solomon Ross                                                                    Case No.      11-13060
            Elizabeth Holland Ross                                                                                      (if known)

                                                                 AMENDED 1/20/2012
                                                STATEMENT OF FINANCIAL AFFAIRS
                                                                  Continuation Sheet No. 2

        State Farm Bank                               Lawsuit                          In the County Court at          Pending
        vs.                                                                            Law No. 1
        Daniel Ross                                                                    of Travis County, Texas
        Case No. C-1-CV-11-012577

None
       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
       the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       5. Repossessions, foreclosures and returns
None
       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned
       to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       6. Assignments and receiverships
None
       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is
       filed, unless the spouses are separated and a joint petition is not filed.)

None
       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       7. Gifts
None
       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
       gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
       per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       8. Losses
None
       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
       a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       9. Payments related to debt counseling or bankruptcy
None
       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
       consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
       of this case.

                                                                      DATE OF PAYMENT,
                                                                      NAME OF PAYER IF                AMOUNT OF MONEY OR DESCRIPTION
        NAME AND ADDRESS OF PAYEE                                     OTHER THAN DEBTOR               AND VALUE OF PROPERTY
        Access Counseling                                             June 19, 2011                   $30.00

        Walters Dunn                                                  December 15, 2011               $1,700.00
        1101 Navasota
        Suite 1
        Austin, TX 78702
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B7 (Official Form 7) (04/10) - Cont.           UNITED STATES BANKRUPTCY COURT
                                                    WESTERN DISTRICT OF TEXAS
                                                         AUSTIN DIVISION
   In re:   Daniel Solomon Ross                                                                    Case No.      11-13060
            Elizabeth Holland Ross                                                                                      (if known)

                                                                  AMENDED 1/20/2012
                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                   Continuation Sheet No. 3



       10. Other transfers
None
       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
       either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or
None
       similar device of which the debtor is a beneficiary.



       11. Closed financial accounts
None
       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
       transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
       brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       12. Safe deposit boxes
None
       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       13. Setoffs
None
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)



       14. Property held for another person
None
       List all property owned by another person that the debtor holds or controls.

                                                                      DESCRIPTION AND VALUE
        NAME AND ADDRESS OF OWNER                                     OF PROPERTY                               LOCATION OF PROPERTY
        Shaya Holland                                                 Piano                                     14843 Bescott Drive
        1205 Cerito Alto                                              Value: $35,000.00                         Austin, Texas 78728
        El Paso, Texas 79912

       15. Prior address of debtor
None
       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied
       during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either
       spouse.



       16. Spouses and Former Spouses
None
       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
       Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
       identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.
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B7 (Official Form 7) (04/10) - Cont.            UNITED STATES BANKRUPTCY COURT
                                                     WESTERN DISTRICT OF TEXAS
                                                          AUSTIN DIVISION
   In re:   Daniel Solomon Ross                                                                     Case No.      11-13060
            Elizabeth Holland Ross                                                                                       (if known)

                                                                   AMENDED 1/20/2012
                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 4



       17. Environmental Information
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or
       regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
       by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
       contaminant or similar term under an Environmental Law.



None a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
       potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
       Environmental Law:



None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
       Indicate the governmental unit to which the notice was sent and the date of the notice.



None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor is
       or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.


       18. Nature, location and name of business
None
       a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership,
       sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
       commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years
       immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years
       immediately preceding the commencement of this case.

        NAME, ADDRESS, AND LAST FOUR DIGITS OF
        SOCIAL-SECURITY OR OTHER INDIVIDUAL                                                                         BEGINNING AND ENDING
        TAXPAYER-I.D. NO. (ITIN) / COMPLETE EIN                      NATURE OF BUSINESS                             DATES

        L&D Ross, Inc. dba USA Baby & Childspace                     Juvenile Retail                                October 2001 - August
        4477 S. Lamar Boulevard #530                                                                                2010
        Austin, Texas 78745
        EIN: XX-XXXXXXX

None
       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
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B7 (Official Form 7) (04/10) - Cont.            UNITED STATES BANKRUPTCY COURT
                                                     WESTERN DISTRICT OF TEXAS
                                                          AUSTIN DIVISION
   In re:   Daniel Solomon Ross                                                                       Case No.       11-13060
            Elizabeth Holland Ross                                                                                          (if known)

                                                                    AMENDED 1/20/2012
                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                     Continuation Sheet No. 5



       The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been,
       within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner of
       more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor, or
       self-employed in a trade, profession, or other activity, either full- or part-time.

       (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above, within
       six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
       directly to the signature page.)


       19. Books, records and financial statements
None
       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or supervised the
       keeping of books of account and records of the debtor.


None
       b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited the books of account
       and records, or prepared a financial statement of the debtor.


None
       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
       debtor. If any of the books of account and records are not available, explain.


None
       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by
       the debtor within two years immediately preceding the commencement of this case.



       20. Inventories
None
       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
       dollar amount and basis of each inventory.


None
       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.




       21. Current Partners, Officers, Directors and Shareholders
None
       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.



None
       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or
       holds 5 percent or more of the voting or equity securities of the corporation.


       22. Former partners, officers, directors and shareholders
None
       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement
       of this case.


None
       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately
       preceding the commencement of this case.
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B7 (Official Form 7) (04/10) - Cont.            UNITED STATES BANKRUPTCY COURT
                                                     WESTERN DISTRICT OF TEXAS
                                                          AUSTIN DIVISION
   In re:   Daniel Solomon Ross                                                                       Case No.      11-13060
            Elizabeth Holland Ross                                                                                         (if known)

                                                                   AMENDED 1/20/2012
                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 6



       23. Withdrawals from a partnership or distributions by a corporation
None
       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
       bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this
       case.


       24. Tax Consolidation Group
None
       If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax
       purposes of which the debtor has been a member at any time within six years immediately preceding the commencement of the case.




       25. Pension Funds
None
       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer,
       has been responsible for contributing at any time within six years immediately preceding the commencement of the case.



[If completed by an individual or individual and spouse]

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct.
Date 1/20/2012                                                          Signature          /s/ Daniel Solomon Ross
                                                                        of Debtor          Daniel Solomon Ross

Date 1/20/2012                                                          Signature       /s/ Elizabeth Holland Ross
                                                                        of Joint Debtor Elizabeth Holland Ross
                                                                        (if any)
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both.
18 U.S.C. §§ 152 and 3571
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                                      UNITED STATES BANKRUPTCY COURT
                                         WESTERN DISTRICT OF TEXAS
                                               AUSTIN DIVISION
  IN RE:   Daniel Solomon Ross                                                     CASE NO         11-13060
           Elizabeth Holland Ross
                                                                                   CHAPTER         7
                                                    AMENDED 1/20/2012
                                     VERIFICATION OF CREDITOR MATRIX


      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 1/20/2012                                           Signature    /s/ Daniel Solomon Ross
                                                                     Daniel Solomon Ross



Date 1/20/2012                                           Signature    /s/ Elizabeth Holland Ross
                                                                     Elizabeth Holland Ross
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 Debtor(s): Daniel Solomon Ross      Case No: 11-13060
            Elizabeth Holland Ross    Chapter: 7
                                                       14                    WESTERN DISTRICT OF TEXAS
                                                                                        AUSTIN DIVISION


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